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ADDITION TO MY STATEMENT OF FACTS, COUNTS & PRAYERS"! U.S. DISTRICT COU!
DARKO PAVLOVSKI vs. FRONTIER AIRLINES INNEAPOLIS, MINNESOTS
Wey UYGZ

10. The next day's fight was too late for us. My wife had to go to work and it would put us
and especially the baby through lots of additional suffering. Moreover, | could not trust Frontier
anymore. Precisely, another supervisor/manager later accused me that | have been grabbing
someone’s badges. This was a total lie/fabrication. Therefore, | didn't know what other
fabrications/lies they'll come up with just to kick us out! Also, | can't say anything. If so, then,
we'll never get out of Denver.

11. | also didn't feel that my baby was safe without a child safety belt or at least an
informative direction (based on expert/ergonomic or something)how to properly hold a baby in a
lap.) | don't think they ever obtained such an expert opinion. So, for all the reasons above, | was
forced urgently to buy tickets with United airlines which cost me $1,826.70.

12. There, at United Airlines, they didn't cause any problems for my baby in the carrier...
Neither they did at Sun Country. This also means that Frontier acts opposite of the industry
Standards.

13. Following the unjust removal and unseen humiliation of the Plaintiff, Plaintiff has suffered
and continues to suffer mental anxiety, depression, isolation, deprivation of sleep.

14. Having a baby in a carrier or having the baby attached with a baby belt to the parent’s
belt is safer than having the baby carried by the parent only with the arms.

15. Once, Frontier was accused of causing a passenger to be thrown forward and up in their
seats. Case 23-CV-01637. See Complaint paragraph 7.

16. If the above referenced passenger had a baby in his arms only, it could have been

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US. DISTRICT COURT MPLS |

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detrimental for the baby!
17. | However, if the above referenced passenger had the baby in the carrier striped to his
body or a baby belt , the passenger would much easier protect the baby, as the hand/arms
would be free.
18. It is not the first time Frontier has removed passengers unjustly. In fact, it has removed
minor children in the past too! RE; MN State Conciliation Court 28-CO-22-32
19. | On another occasion, Frontier was accused of breaking an infant's stroller in several
pieces. Re: MN State Conciliation Court 27-CO-17-1805

COUNTS

COUNT |!
Breach of Duty of Good Faith and Fair Dealing

20. _—~wPllaintiff fully restates all previous paragraphs.

21. US UCC 1-304 states, “Every contract or duty within the Uniform Commercial Code
imposes an obligation of good faith in its performance and enforcement.”

22. There is also, implied duty of Good faith and Fair dealing.

23. The Defendants have frustrated the Plaintiffs expectation, and have breached the duty
of Good faith and Fair dealing,

24. As result of that breach, the Plaintiff has suffered damages in excess of $100,000.00, to
be determined on trial.

COUNT Ii
Breach of US Constitution, 1st Amendment- Freedom of Speech

25. ‘Plaintiff fully restates all previous paragraphs

26. Defendant has breached the 1st Amendment of the US Constitution by not allowing the
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Plaintiff to voice his opinion/concern about the safety of his baby. Plaintiff understands that
Defendant is not a State actor; however, the issue is serious and Plaintiff prays the Court to
extend the First Amendment to civil complaints voicing civil concerns to public companies-
especially those that provide public transportation.
27. As result of that breach, the Plaintiff has suffered damages in excess of $100,000.00, to
be determined on trial.
COUNT Ill
Breach of US Constitution Article IV
28. Plaintiff fully restates all previous paragraphs.
29. Defendant has breached the US Constitution Article IV, by unlawfully restraining the
Plaintiff from traveling back to his home.
30. As result of that breach, the Plaintiff has suffered damages in excess of $100,000.00, to
be determined on trial.
COUNT IV
Breach of US Constitution, 14th Amendment
31. ‘Plaintiff fully restates all previous paragraphs.
32. Defendant has breached the US Constitution, X!Vth Amendment (due process and
freedom of movement) by not letting him express his concerns and by restraining him in
Colorado and preventing him from traveling back to his home.
33. As result of that breach, the the Plaintiff has suffered damages in excess of $100,000.00,
including but not limited in the form of anxiety, depression, humiliation, isolation, deprivation of

sleep, and cost of US Airlines tickets needed to return to MN; total to be determined on trial.
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COUNT V
Breach of consumer rights (Section 5 from Federal Trade Commission Act)
Unfair or Deceptive Acts or Practices

34. Plaintiff fully restates all previous paragraphs.
35. Plaintiff as a passenger who uses Defendant's services is a consumer.
36. Defendant has never expressed to Plaintiff that it would remove a passenger for simply
stating an opinion, even if the passenger fully complies with the request of the flight attendants.
Defendant has never expressed to Plaintiff that it would remove a passenger for stating a
complaint, even if the passenger fully complies with the request of the flight attendants.
Defendant has never expressed to Plaintiff that it would remove a passenger for expressing a
safety issue, even if the passenger fully complies with the request of the flight attendants.
37. Failure to state the above hidden powers was deceptive, misleading and unfair, and has
caused substantial injuries to the Plaintiff. Defendant knowing that has such hidden powers, has
used (abused) them in a coercive, threatening and harassing manner! Most importantly,
Defendant has expressed desire to continue to do so...and injure more passengers/consumers!
38. Defendant has breached the Plaintiffs consumer’s rights, precisely Section 5 from
Federal Trade Commission Act, and has engaged in Unfair/Deceptive practices.
39. As result of that breach and those unlawful act/practices, the Plaintiff has suffered
damages in excess of $100,000.00, including but not limited in the form of anxiety, depression,

humiliation, isolation, deprivation of sleep, and cost of US Airlines tickets needed to return to

MN; total to be determined on trial.

COUNT Vi
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Public Policy
40. Plaintiff fully restates all previous paragraphs.
41. Plaintiff further alleges that complaints/concerns about the safety of a public
transportation companies; are of public interest and are public policy and concern.
42. Plaintiff, therefore, sets forward the following declaration and specific performance
prayers.

COUNT Vil
Declaration that Baby Carriers or at least baby/child belts are safe

43. Plaintiff fully restates all previous paragraphs.

44. _‘ Plaintiff finds the baby carriers safer than carrying a baby with hands.

45. Plaintiff prays the court, upon jury trial, to find the baby carrier safe, and declare so.
COUNT Viil

Specific performance-requiring Defendant to carry and provide passengers with Child/Baby seat

belts
46. _ Plaintiff fully restates all previous paragraphs.
47. Plaintiff prays the Court to require Defendant, Frontier airlines, as a transportation

company to carry baby/child seat belts and provide the same to those without any carrier.

COUNT IX
Declaring that presenting an opinion/concern over safety is not a safety issue

48. Plaintiff fully restates all previous paragraphs
49. Plaintiff prays the court, upon jury trial, to find that presenting an opinion/concern over
the safety of the passengers is not a safety issue, or a reason for removal from the airplane.

COUNT X
Specific performance-requiring Defendant to allow civil opinions to be voiced

50. _—_‘ Plaintiff fully restates all previous paragraphs.
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51. Plaintiff prays to court to require Defendant to allow civilly voiced concerns and or
complaints to be expressed, and to ban Frontier airlines from retaliation against those
passengers.
COUNT XI
Discrimination on children & Specific performance-requiring Defendant to do proper research
how babies should be carried and how the handled during air flights along with turbulence and
other accidents.

52. The Defendant has never done any proper research on how babies should be carried
during air flights, turbulence or other air accidents.
53. | The Defendant never educates its passengers with babies how to carry them or handle
them during the air flights, turbulence or other accidents. However, it does educate adults how
to take care of themselves!
54. ‘This failure and lack of care towards children is a discrimination on children.
55. Plaintiff prays the court to require Defendant to do proper research how babies should
be carried and handled during flights, turbulences and other air accidents, and to educate its

passengers with babies of the findings from the research.

COUNT XIil
Punitive damages

56. Defendant has the means and the power within its airlines.

57. Defendant does public transportation of millions of passengers.

58.  Defendant’s actions of not listening to concerns, not making informating decisions,
removing and restraining passengers for no reason and/or simply making a complaint,
fabricating events, are more then outrageous.

59. The law justifies punitive damages against Defendant, and Plaintiff prays the court to
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award punitive damages, upon jury trial.

COUNT Xill
Posting a deposit with the Court

60. Plaintiff fully restates all previous paragraphs.

61. Plaintiff believes that the Defendant will repeat the same wrong behaviors again.
Therefore, Plaintiff prays the court to require Defendant to post a deposit with the court, in
amount the court finds proper, in case such wrong behaviors are repeated.

COUNT XIV
Breach of Conract-Course of performance.

62. Plaintiff fully restates all pervious paragraphs.

63. Plaintiff and Defendant have established a course of performance in the previous two
flights (1. Denver, Colorado to Puerto Vallarta, Mexico and 2. Puerto Vallarta, Mexico to Denver
Colorado) where the baby was allowed to be carried in a carrier throughout the flight. Defendant
consequently, breached that “course of performance”.

64. Atall time, Plaintiff performed all his duties required by contract. Moreover, at all time,
Plaintiff fulfilled his duties from the established “course of performance” and acted exactly the
same as in the previous two flights.

65. As result of that breach of the Course of performance, the Plaintiff has suffered damages
in excess of $100,000.00, including but not limited in the form of anxiety, depression,
humiliation, isolation, deprivation of sleep, and cost of US Airlines tickets needed to return to
MN; total to be determined on trial.

COUNT XV
Breach of Contract
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66. _ Plaintiff fully restates all previous paragraphs.

67. Per contract, Defendant had duty to transport the Plaintiff from Denver, Colorado to
Minneapolis, Minnesota. Defendant has unjustly failed to perform that service, and breached the
contract.

68. _ In addition, the Defendant has engaged in humiliation of the Plaintiff by removing him
from the airplane as he has done something terrible.

69. Plaintiff, at all times has performed all his duties required by contract.

70. As result of that breach of contract and such a removal the Plaintiff the Plaintiff has
suffered damages in excess of $100,000.00, including but not limited in the form of anxiety,
depression, humiliation, isolation, deprivation of sleep, and cost of US Airlines tickets needed to

return to MN; total to be determined on trial.

COUNT Xvi
Breach of Fiduciary Duty

71. Defendant owes Plaintiff Fiduciary duty to do proper research for his safety and transport
him and his baby safely from one place to another.

72. Defendant has not done proper research about the safety of the Plaintiff F.P.

73. Plaintiff, when buying tickets, fully trusted and relied on Defendant's expertise and
experience that Plaintiff will be safely transported from one place to another.

74. Defendant has breached its Fiduciary Duty owed to Plaintiff.

75. As result of that breach of contract and such a removal the the Plaintiff has suffered

damages in excess of $100,000.00, including but not limited in the form of anxiety, depression,
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humiliation, isolation, deprivation of sleep, and cost of US Airlines tickets needed to return to
MN; total to be determined on trial.
COUNT XVII

NEGLIGENCE
76. Defendant owes Plaintiffs duty of care to do proper research for the safe travel.
77. Defendant negligently failed to do proper research for the travel of babies.
78. As proximate result of such negligence, the Plaintiff has suffered damages
in excess of $100,000.00, including but not limited in the form of anxiety, depression,
humiliation, isolation, deprivation of sleep, and cost of US Airlines tickets needed to return to

MN; total to be determined on trial.

PRAYERS
84. Prayer 6- Declare, upon jury trial that using a carrier or a “baby belt” with a baby is not a
safety concern; but actually it's in the babies’ best interest.
85. Prayer 7-Specific performance, mandating Frontier airlines to carry child/baby belts for
the safety of the babies, and provide the same to its passengers.
86. Prayer 8- Plaintiff prays the court to require Defendant to do proper research how babies
should be carried and handled during flights, turbulences and other air accidents, and to

educate its passengers with babies of the findings from the research.

Darko Pavlovski

5024 71st Ave N.

Brooklyn Center, MN, 55429
4/11/2025

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